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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 1:20cv23598 WILLIAMS / TORRES

ERIC MATUTE CASTRO and R.Y.M.R.,

                                  Plaintiffs,
                          v.

UNITED STATES OF AMERICA,

                           Defendant.
________________________________________/

             UNITED STATES OF AMERICA’S NOTICE OF NON-OBJECTION
          TO PLAINTIFFS’ MOTION FOR APPROVAL OF SETTLEMENT [ECF 133]

       Defendant, the United States of America, by and through its undersigned counsel, notifies the

Court that, pursuant to S.D. Fla. Local Rule 7.1(a)(3), prior to the filing of Plaintiffs’ Motion for

Approval of Settlement [ECF 133], counsel for all parties conferred in a good faith effort to resolve the

issues raised in the motion. The United States does not oppose the relief sought in Plaintiffs’ motion.


   Dated: August 29, 2023                             Respectfully submitted,

                                                      MARKENZY LAPOINTE
                                                      UNITED STATES ATTORNEY

                                                By:   John S. Leinicke
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